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VIII. CONDITIONS OF EMPLOYMENT

      A.     Employee Practice:       Employees are to be informed of the behavior
             expected of them and the rules, regulations, policies, procedures and
             practices by which they must abide. Such rules, regulations, etc. will be given
             in writing to employees in the form of these Employee Guidelines and will
             include the specific job description for the employee's position. New
             employees will be oriented to such at the time of their employment.

      B.     Orientation:      On the first day of employment, the employee will be
             informed of all      policies and practices and receive printed materials on
             policies and benefit forms. The employee will then be directed to the
             worksite. As soon as possible after the employee reports to work, the
             Executive Director and/ or the employee's supervisor will brief the employee
             on the following:

             1.           Mission Statement and Operating Philosophy
             2.    Tour of the Work Site
             3.    Job Description and Responsibilities of the Employee
             4.    120-day Provisional Period
             5.           Paperwork and Procedures
             6.    New Hire Paperwork and Benefit Forms
             7.    Employee Guidelines, including the following:
                   a.    Employee Development
                   b.    Performance Evaluation
                   c.    Positions and Salaries
                   d.    Payroll and Work Schedules
                   e.    Employee Benefits
                   f.    Employee Expenses
                   g.    Conduct
                   h.    Discipline
                   1.    Company Electronic Equipment
                   J.    Termination of Employment
                   k.    Grievances
                   1.    Whistleblower Policy
                   m.    Lines of Authority
                   n.    Drug and Alcohol-Free Workplace Policy
                   o.    Electronic Communication and Non Privacy
                   p.    Motor Vehicle Texting and E-Mail Safety Policy


                  fi
                         VAWA 2005 Confidentiality Guidelines/Requirements
                     ."  Prohibited Use of Cell Phone While Operating a Motor Vehicle
                     .   Non-Violence and Weapons Policy

      C.     120 Day Provisional Period: There is a 120-Day Provisional Period
             for all newly hired employees. During the 120-Day Provisional Period,
                    or the individual may terminate the employment relationship at any
             time. During the 120-Day Provisional Period, the employee accrues no rights
             or benefits other than Health Insurance if applicable.

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            confidentiality and privacy in regard to history, records, and discussions
            about the people served. Disclosure may be made only under specified
            conditions. This means that staff shall not disclose any information about a
            person, including the fact that the person is or is not served by         to
            anyone outside the organization, unless a written release has been secured
            from the client, or unless required by law.

            Any information received by an employee on a confidential basis must be
            maintained in confidence. For a more in depth understanding of
            confidentiality policy, refer to the section on confidentiality in this handbook.
            Please also refer to the 2005 VAWA Confidentiality Requirements
            Acknowledgement that is attached to, and a part of this handbook for further
            guidance and instruction.

            Personal Conduct: The standard of employee conduct normally required
            in a place of employment (such as no fighting, obscenities, use of weapons,
            drugs or alcoholic beverages on premises, theft, or misuse of equipment or
            furnishings) will be expected, whether or not such things are in writing. An
            employee is expected to conduct herself/himself at all times in a manner
            befitting her/his status as an employee              She/he shall refrain from
            any action and avoid any kind of public pronouncement or behavior which
            reflects or could reflect adversely upon the             An employee should
            exercise the utmost discretion in regard to all matters of official business and
            records.

            1.     Public Statements: An employee may not speak to the press/media
                   as an official spokesperson of  without prior clearance of the
                   Executive Director.

            2.     Public Appearance: Any employee asked by an outside agency or
                   organization to appear as a guest speaker or invited program
                   participant representing the   must obtain prior clearance from
                   the Executive Director.

            3.     Gifts and Gratuities:       Employees of          are prohibited from
                   accepting gifts, money, and gratuities from persons receiving benefits
                   or services from         or from persons performing services under
                   contract to         or otherwise in a position to benefit from an
                   employee action. Employees may not purchase or remove items from
                         for personal benefit or use without the approval of the Executive
                   Director.

             4.    Dress Code: Employees shall report to work dressed neatly and
                   appropriately. Causal, but not immodest, dress is allowed at
                   offices during regular office hours: however, during conferences and
                   formal meetings, or when publicly representing             staff will be
                   expected to dress professionally. Specifically, staff should not wear



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                   for and fulfilling their responsibilities of elected office. Staff granted
                   leave under this policy must comply with                policy for unpaid
                   leave.
     H.     Solicitation:    No solicitation will be allowed to or by employees during work
            time or on work premises. Employees may not distribute literature or printed
            materials of any kind, sell merchandise, solicit financialcontnbutions,or solicitfor
            any other cause during workingtime or in workingareas at anytime.

     I.     Safety: It is the goal of the  to provide a safe, hazard-free environment
            for all employees. Employees must report any hazardous or unsafe working
            conditions to management immediately.

     J.     Weapons: Weapons are strictly prohibited on         property as well as any
            location or activity where        and/ or       employees are or may be
            conducting business. Concealing a weapon or attempting to conceal a weapon
            on        property or any location or activity where         and/ or
            employees are or may be conducting business will be cause for immediate
            termination. Law Enforcement Officers acting in their official capacity are
            exempt from this weapons policy.

      K.    Violence in the workplace:             recognizes that anyone can be a victim
            of domestic or sexual violence and that likewise, anyone can be a perpetrator.
             In order to support our goal of helping victims achieve safety and holding
            perpetrators accountable,          maintains the following policies for its
            employees who experience domestic violence or sexual assault.

            1.      Employees who disclose to the Executive Director, any staff or board
                    member of        that they are a victim of domestic or sexual violence
                    can expect confidentiality to be respected, unless confidentiality places
                    others in the workplace at risk.

            2.      Employees who are victims of domestic or sexual violence may use
                    earned paid leave time (personal days and vacation days) to handle
                    domestic violence related concerns. This includes, but is not limited
                    to, court appearances and other legal matters, relocation, support
                    groups/counseling, health care, or child/dependent-related safety
                    needs. Use of paid leave time must be requested and approved in
                    accordance with        employee guidelines.

            3.      Employees should report concerns about their personal safety to their
                    immediate supervisor. Employees can expect that        will address
                    the employee's safety concerns confidentially with the Executive
                    Director on an individual basis.

            4.      Employees can expect to receive referrals to external direct service
                    providers to address emotional and physical safety needs. Employees



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